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                                                                                 Joshua M. Levin
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November 13, 2024

 VIA EMAIL


 Bruce McMullen
 Jennie Vee Silk
 Freeman B. Foster
 Baker, Donelson, Bearman
 Caldwell & Berkowitz, P.C.
 165 Madison Avenue, Suite 2000
 Memphis, TN 38103



       Re: Wells v. City of Memphis, et al., Case No. 2:23-cv-02224 – Rule 37 Letter

 Dear Counsel:

        We write regarding outstanding discovery matters. We are requesting a Rule 37 conference
during the week of November 18 to discuss these matters and come to a final determination as to
whether the parties are at issue. We are available on the following dates and times, with a
preference for earlier in the week: 11/18 (9-11 a.m., 1-3 p.m.), 11/19 (9-11 a.m., after 12:00 p.m.),
11/21 (anytime), 11/22 (anytime). We would welcome a written response from the City in advance
of our conference.

       I.      SCORPRION SOP.

      We have received no response from the City regarding the searches related to the
SCORPION SOP that the City agreed to conduct on our October 28, 2024 meet and confer. As
memorialized in our October 30 letter:

       The City agreed to run search terms for the SCORPION SOP through the
       City’s ESI collection, which the City stated consists of custodial emails and
       attachments. Please inform us of the results of this search and produce any
       responsive documents by November 8, 2024.

       In addition to this search, we must ask that you identify the following:

       Please let us know, by November 8, 2024, where you collected each of these
       versions of the SCORPION SOP [produced to date], including all drafts of the
       SOP, and who the custodian(s) and authors are of each. If there is no custodian
       or author, provide the name of the non-custodial source.

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          II.    Responses to the City’s October 31 Letter.

          The following are Plaintiff’s responses to the City’s positions set out in your October 31
letter.

        Plaintiff RFP 96. You have asserted that “convert[ing]” the requested Response to
Resistance Reports into a “producible format” will be time-consuming. Please clarify—what
format is the information in currently, and in what sort of repository? What steps do you believe
would be involved in converting the responsive documents? Generally, the responsive materials
can be gathered and produced in native form, eliminating or reducing the need for conversion to a
different format. We do not see why this would be unworkable here.

        Plaintiff RFP 73. You stated that the data related to the CompStat reports is maintained
on Power BI. Our understanding is that Power BI is a Microsoft application for viewing data stored
in an underlying repository. We seek the underlying data. Please explain where the underlying
data is stored, and in what format.

         Plaintiff RFPs 87-90. You stated that the requested ISB case files are stored in hard copy
with a CD disc containing any digital evidence. We request that you please provide an estimate of
the number of pages involved in producing the requested ISB case files. If the documents are stored
in file cabinets, banker boxes, or the like, an estimate of the number of boxes and the dimensions
of the boxes at issue should be sufficient. Please also estimate the number of CDs. We ask that you
please provide this information in advance of our call.

        Parties in litigation with voluminous hardcopy document needs generally use corporate
document management vendors to scan/digitize large volumes of hardcopy documents and to copy
large volumes of CDs. Such document vendors routinely handle sensitive and confidential
documents for large corporate clients and complete such jobs with great efficiency. Will you agree
to gathering the documents in this manner? We ask that you please be prepared to discuss whether
the City will agree to have a vendor process the documents and CDs at issue in these RFPs.

                                                ***

          Please let us know times that work for you to discuss these matters next week. Thank you.

                                                              Sincerely,

                                                              /s/ Joshua M. Levin

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